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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
UNITED STATES OF AMERICA

         -v-
                                                              No. 11-cr-676-6 (RJS)
IVAN CANALES,                                                       ORDER

                               Supervisee.




RICHARD J. SULLIVAN, Circuit Judge:

         As stated on the record during the December 11, 2020 conference held in this matter, the

Court scheduled a follow-up conference for January 15, 2021 at 11:00 a.m. to discuss the status of

Supervisee’s employment. The Court is now in receipt of a report from Probation indicating that

Supervisee has obtained employment in compliance with his conditions of supervised release. In

light of this positive news, IT IS HEREBY ORDERED THAT the conference scheduled for January

15, 2021 is adjourned sine die. Probation is directed to provide the Court with an update as to

Supervisee’s progress while on supervised release no later than February 10, 2021.

SO ORDERED.

Dated:         January 12, 2021
               New York, New York

                                                     RICHARD J. SULLIVAN
                                                     UNITED STATES CIRCUIT JUDGE
                                                     Sitting by Designation
